
DAUKSCH, J.
Appellant, A.P., a juvenile, appeals an adjudication of delinquency and order of disposition following a plea of guilty. Although the record reflects that appellant was advised of the right to the assistance of counsel, there was no thorough inquiry into appellant’s comprehension of the offer of counsel or capacity to make the choice to waive counsel intelligently and understandingly, as required by Florida Rule of Juvenile Procedure 8.165(b)(2), nor was there a written waiver of counsel, as required by Florida Rule of Juvenile Procedure 8.165(a). This is fundamental error which requires reversal. See T.G. v. State, 24 Fla. L. Weekly D216, 741 So.2d 517 (Fla. 5th DCA 1999); J.O. v. State, 717 So.2d 185 (Fla. 5th DCA 1998); J.R. v. State, 715 So.2d 1135 (Fla. 5th DCA 1998).
REVERSED AND REMANDED.
GOSHORN and PETERSON, JJ„ concur.
